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            EXHIBIT 2
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                             uest     kno      nstr ctions
                                                                                        AC       M LC (“ xi m”)
                                                                    CO SU ER ATA ACC SS REP RT / EXPLAN                                     N
This Consumer Data Access Report (“Report”) contains information required to be disclosed by certain state privacy laws and their implementing regulations or guidance (“Governing Privacy Laws”).
Under the Governing Privacy Laws, residents of the applicable State are entitled to make certain requests of covered businesses. In connection with your request to know the information that Acxiom
has collected, sold, shared or disclosed about you, the following information is provided in order to assist you in understanding your rights under the Governing Privacy Laws and to further explain the
information contained in the Report. This Report may contain more information than is required by your State of residence, but Acxiom is providing this information to you in the interest of transparency.
If you have any questions concerning the content of your Report, please contact Acxiom or at www.acxiom.com/privacy and click on "Contact Support Center" or at consumeradvo@acxiom.com or 1-
877-774-2094.

I. C ns            er Rig s.
Under applicable Governing Privacy Laws, consumers have the right to know about the specific pieces or categories of personal information collected by a business as well as the right to know about
the categories of personal information that a business sells, shares or discloses to a third party. Acxiom extends that right to consumers, nationwide. For general information for information about
Acxiom’s data collection policy and practices, please visit Acxiom’s web site at https://www.acxiom.com/privacy to review Acxiom’s US Data Product Privacy Notice (“Privacy Notice”). Acxiom offers
deletion and opt out rights, to consumers, nationwide. Our form to opt out from sale of personal information can be found by visiting https://www.acxiom.com/optout. For instructions on exercising your
right to have your personal information deleted, please visit our web site at https://www.acxiom.com/privacy/us/consumer-instructions/.

II         G neral Ins cti ns nd Req red Discl ure .
In your review of the Report, please note the following:

A. Data Collected/Processed – The information provided in the “Data Collected” section includes the specific pieces and categories of personal information which Acxiom has sourced from its third-
party data suppliers except to the extent section D, below, applies. Acxiom does not collect information directly from consumers. Please see our Privacy Notice (see web site address above) for
information about the categories of sources and the business or commercial purpose for which Acxiom is using the information.
B. Data Sold/Shared – The information provided in the “Data Sold” section includes the categories of personal information and the categories of third parties to whom the information was sold.
C. Data Disclosed – The information provided in the “Data Disclosed” section includes the categories of personal information and the categories of third parties to whom Acxiom disclosed and/or shared
the information. To be clear, information described in the Data Disclosed section has been disclosed and/or shared to Acxiom’s service providers solely in support of Acxiom’s own business purposes.
D. Disclosure Exceptions – Pursuant to the applicable Governing Privacy Laws, the following information has been expressly excluded from the definition of “personal information” and is, therefore, not
included in this Report:

            Personal information made available from “publicly available” sources such as government records; Acxiom does source certain personal information from publicly available sources as
            described in our Privacy Notice, but as permitted by Applicable Governing Laws, Acxiom has elected to not include such specific pieces of information within the Data Collected/Processed
            section.
            Personal information that has been de-identified or aggregated is not included in the Data Collected/Processed section of the Report.
            Display Restrictions - Acxiom is prohibited under the applicable Governing Privacy Laws from disclosing specific pieces of information if the disclosure creates an unreasonable risk to the
            security of that personal information (for example, social security number, driver’s license number). Acxiom has elected to apply this requirement, nationwide. If Acxiom maintains any
            information of this nature, the report will simply display “On File” for that value.

E. Acxiom Contact – if you have any questions concerning the content of the Report, you may contact Acxiom www.acxiom.com/privacy or at consumeradvo@acxiom.com or call 1-877-774-2094 toll
free.


                             uest       ails
      Req es R f ID                                                                                         R qu         p Access

      Su j c Ty e as Myself




                            a Collect
                                                                                               D a Coll cte
The information provided in the “Data Collected” section below includes the specific pieces and categories of personal information which Acxiom has sourced from its third-party data suppliers. To be
clear, even if data is reflected in the Data Collected section of the Report, Acxiom may not use all of the personal information that it initially receives from a particular data source. Applicable Governing
Privacy Laws require that covered businesses describe the specific pieces or categories of personal information that it collects, but Acxiom does not, in all instances, use all of the information it receives
in its data products. Prior to any use of personal information in any Acxiom product, Acxiom performs analysis, data cleansing, and other processing steps to join, correct, and otherwise enhance the
originally sourced information. The specific pieces of information listed in the Data Collected section that Acxiom may use for both marketing and reference product offerings are primarily limited to
personal identifiers such as name, address and related contact information such as telephone and email address. Some personal information that has been designated for use in marketing and
reference uses may contain certain demographic financial information. Acxiom does not use and does not allow our clients to use any financial related information for any purpose related to determining
eligibility for credit, insurance or employment. For more information on our marketing and reference product offerings, please see our Privacy Notice by visiting the web site listed above. In order to
assist you in understanding the information that Acxiom has about you and the purposes for which Acxiom is using the information, we have included the following definitions:

 Abi Tec” – refers to proprietary linking technology which assigns an identification number (also known as a “match key”), to a record based upon personal information contained within the record.
Identifiers utilized as part of the AbiliTec linking technology include “consumer links,” “address links” and “household links.”
 Person ocID – refers to an Acxiom internal identification numbering process which Acxiom uses to connect or link a group of related records internally for Acxiom’s own internal processing purposes.
In addition, in order to further assist you in understanding the personal information that Acxiom has collected about you, Acxiom has grouped the personal information using the definition of “personal
information” as defined in the California Consumer Privacy Act of 2018, as amended by the California Privacy Rights Act (collectively “CCPA”) (e.g., personal identifiers, personal characteristics, etc.).
Throughout the Data Collected and Data Sold sections, additional descriptive information has been provided to further explain or define certain pieces of information as required by the applicable
Governing Privacy Law(s).


                              lt S mm ry - D ta         oup

      at       lect d

     01. Personal Identifiers / 01. Name / Name              CHRIS JOHNSON
     (001)
     01. Personal Identifiers / 01. Name / Name              CHRISTOPHER D JOHNSON
     (002)
     01. Personal Identifiers / 01. Name / Name              CHRISTOPHER JOHNSON
     (003)
                                                                                                                                                                                                           1 / 70
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01. Personal Identifiers / 10. Other Identifiers
                                                        Document 1-2                               Filed 01/30/25   Page 6 of 71 PageID# 39
/ Abilitec - Consumer Address Link 16 byte
(005)
01. Personal Identifiers / 10. Other Identifiers
/ Abilitec - Consumer Link 16 byte
01. Personal Identifiers / 10. Other Identifiers
/ Abilitec - Entity Link (001)
01. Personal Identifiers / 10. Other Identifiers
/ Abilitec - Entity Link (002)
01. Personal Identifiers / 10. Other Identifiers
/ Abilitec - Entity Link (003)
01. Personal Identifiers / 10. Other Identifiers
/ Abilitec - Entity Link (004)

01. Personal Identifiers / 10. Other Identifiers
/ Abilitec - Entity Link (005)
01. Personal Identifiers / 10. Other Identifiers
/ Abilitec - Entity Link (006)
01. Personal Identifiers / 10. Other Identifiers
/ Abilitec - Household Document Id
01. Personal Identifiers / 10. Other Identifiers
/ Abilitec - Household Link
01. Personal Identifiers / 10. Other Identifiers
/ Abilitec - Place Only Link (001)
01. Personal Identifiers / 10. Other Identifiers
/ Abilitec - Place Only Link (002)
01. Personal Identifiers / 10. Other Identifiers
/ Abilitec - Place Only Link (003)
01. Personal Identifiers / 10. Other Identifiers
/ Abilitec - Place Only Link (004)
01. Personal Identifiers / 10. Other Identifiers
/ Abilitec - Place Only Link (005)
01. Personal Identifiers / 10. Other Identifiers
/ IP Address (001)
01. Personal Identifiers / 10. Other Identifiers       (Last Activity Date:                )
/ IP Address (002)
01. Personal Identifiers / 10. Other Identifiers    (Last Activity Date:           )
/ IP Address (003)
01. Personal Identifiers / 10. Other Identifiers   (Last Activity Date:        )
/ IP Address (004)
01. Personal Identifiers / 10. Other Identifiers       (Last Activity Date:                )
/ IP Address (005)
01. Personal Identifiers / 10. Other Identifiers    (Last Activity Date            )
/ IP Address (006)
01. Personal Identifiers / 10. Other Identifiers   (Last Activity Date:        )
/ IP Address (007)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:              )
/ IP Address (008)
01. Personal Identifiers / 10. Other Identifiers       (Last Activity Date:                )
/ IP Address (009)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:              )
/ IP Address (010)
01. Personal Identifiers / 10. Other Identifiers        (Last Activity Date:                   )
/ IP Address (011)
01. Personal Identifiers / 10. Other Identifiers       (Last Activity Date                 )
/ IP Address (012)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date               )
/ IP Address (013)
01. Personal Identifiers / 10. Other Identifiers       (Last Activity Date:                )
/ IP Address (014)
01. Personal Identifiers / 10. Other Identifiers       (Last Activity Date:                )
/ IP Address (015)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:              )
/ IP Address (016)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date               )
/ IP Address (017)
01. Personal Identifiers / 10. Other Identifiers       (Last Activity Date                 )
/ IP Address (018)
01. Personal Identifiers / 10. Other Identifiers       (Last Activity Date:                )
/ IP Address (019)


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01. Personal Identifiers / 10. Other Identifiers
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/ IP Address (020)                                      (Last Activity Date:           )

01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:          )
/ IP Address (021)

01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date           )
/ IP Address (022)
01. Personal Identifiers / 10. Other Identifiers   (Last Activity Date:        )
/ IP Address (023)
01. Personal Identifiers / 10. Other Identifiers       (Last Activity Date:
/ IP Address (024)
01. Personal Identifiers / 10. Other Identifiers        (Last Activity Date:
/ IP Address (025)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:
/ IP Address (026)
01. Personal Identifiers / 10. Other Identifiers       (Last Activity Date:
/ IP Address (027)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:
/ IP Address (028)
01. Personal Identifiers / 10. Other Identifiers       (Last Activity Date:
/ IP Address (029)
01. Personal Identifiers / 10. Other Identifiers        (Last Activity Date:
/ IP Address (030)
01. Personal Identifiers / 10. Other Identifiers       (Last Activity Date:
/ IP Address (031)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:
/ IP Address (032)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:
/ IP Address (033)
01. Personal Identifiers / 10. Other Identifiers       (Last Activity Date:
/ IP Address (034)
01. Personal Identifiers / 10. Other Identifiers    (Last Activity Date:
/ IP Address (035)
01. Personal Identifiers / 10. Other Identifiers    (Last Activity Date:
/ IP Address (036)
01. Personal Identifiers / 10. Other Identifiers       (Last Activity Date:
/ IP Address (037)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:
/ IP Address (038)
01. Personal Identifiers / 10. Other Identifiers        (Last Activity Date:
/ IP Address (039)
01. Personal Identifiers / 10. Other Identifiers        (Last Activity Date:
/ IP Address (040)
01. Personal Identifiers / 10. Other Identifiers        (Last Activity Date:
/ IP Address (041)
01. Personal Identifiers / 10. Other Identifiers        (Last Activity Date:
/ IP Address (042)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:
/ IP Address (043)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:
/ IP Address (044)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:
/ IP Address (045)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:
/ IP Address (046)
01. Personal Identifiers / 10. Other Identifiers    (Last Activity Date:
/ IP Address (047)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:
/ IP Address (048)
01. Personal Identifiers / 10. Other Identifiers   (Last Activity Date:
/ IP Address (049)
01. Personal Identifiers / 10. Other Identifiers       (Last Activity Date:
/ IP Address (050)

01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:
/ IP Address (051)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:
/ IP Address (052)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:
/ IP Address (053)
01. Personal Identifiers / 10. Other Identifiers     (Last Activity Date:
/ IP Address (054)
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10. Inferences / 70. Inferences-Buying
                                                Document 1-2   Filed 01/30/25   Page 63 of 71 PageID#
Activity Behavior / Monthly Likelihood to                96
Spend Services - Budget Truck
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Services - Discount Tire
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Services - Extra Space Storage
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Services - Fedex
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Services - Jiffy Lube
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Services - Midas
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Services - Public Storage
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Services -
Telecommunication(tv|internet|wireless|sling)
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Services - The Ups Store
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Services - Tires Plus
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Services - U-Haul
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Services - USPS
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Telecommunication - AT&T
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Telecommunication - Comcast
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Telecommunication - Cox
Communications
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Telecommunication - Cricket Wireless
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Telecommunication - DirecTV
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Telecommunication - Dish Network
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Telecommunication - Frontier.com
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Telecommunication - Metro Pcs
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Telecommunication - Spectrum
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Telecommunication - Sprint
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Telecommunication - T-Mobile
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Telecommunication - Verizon
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Airbnb
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Alamo Rent-A-Car


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10. Inferences / 70. Inferences-Buying
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Activity Behavior / Monthly Likelihood to            98
Spend Travel - Hyatt Place
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Jetblue Airways
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - La Quinta Motor Inns
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Luxury
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Luxury Four Seasons
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Luxury Hotels
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Luxury Mandarin Oriental
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Luxury Park Hyatt
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Luxury St Regis
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Luxury Waldorf
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Lyft
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Marriott
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - National Car Rental
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Orbitz.com
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Payless Car Rental
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Priceline
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Quality Inn
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Residence Inn
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Royal Caribbean
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Sheraton Hotel
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Sixt Car Rental
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Southwest Airlines
10. Inferences / 70. Inferences-Buying
Activity Behavior / Monthly Likelihood to
Spend Travel - Spirit Airlines
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Spend Travel - Springhill Suites
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